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1                                                Judge Leighton
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7                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT TACOMA
9    UNITED STATES OF AMERICA,              )
                                            )                   NO.     CR05-5747RBL
10                                          )
                      Plaintiff,            )
11                                          )
                v.                          )                   COMPULSION ORDER
12                                          )
     STACEY CHARLES COMER,                  )
13                                          )
                      Defendant.            )
14   _______________________________________)
15
            On motion of John McKay, United States Attorney for the Western District of
16
     Washington, by William H. Redkey, Jr., Assistant United States Attorney for said
17
     District, filed in this matter, and it appearing to the satisfaction of the Court:
18
            1.     That Raul Alvarado-Martinez has been called to testify or provide other
19
     information in the above-captioned case; and
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            2.     That Raul Alvarado-Martinez has refused to testify or provide other
21
     information on the basis of his privilege against self-incrimination; and
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            3.     That in the judgment of the United States Attorney, the testimony or other
23
     information from Raul Alvarado-Martinez may be necessary to the public interest; and
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            4.     That this Motion has been made with the approval of the Acting/Deputy
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     Assistant Attorney General in charge of the Criminal Division of the Department of
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     Justice, pursuant to the authority vested in him by Title 18, United States Code,
27
     Section 6003, and 28 C.F.R. § 0.175.
28


     COMPULSION ORDER/COMER— 1                                                       UNITED STATES ATTORNEY
                                                                                      700 Stewart Street, Suite 5220
                                                                                     Seattle, Washington 98101-1271
                                                                                              (206) 553-7970
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1            NOW, THEREFORE, IT IS ORDERED, pursuant to Title 18, United States Code,
2    Section 6002, that Raul Alvarado-Martinez give testimony or provide other information
3    which he has refused to give or to provide on the basis of his privilege against self-
4    incrimination as to all matters about which he may be questioned in the above-captioned
5    case.
6            IT IS FURTHER ORDERED, ADJUDGED AND DECREED that in accordance
7    with the provisions of Title 18, United States Code, Section 6002, Raul Alvarado-
8    Martinez shall be forever immune from the use of such testimony or any information
9    directly or indirectly derived from such testimony against him in any prosecution, penalty
10   or forfeiture, either State or Federal or otherwise; but the witness shall not be exempt
11   from prosecution for perjury, giving a false statement or contempt committed while
12   giving testimony or producing evidence under this Order.
13


                                                A
             IT IS SO ORDERED this 26th day of June, 2006.
14

15                                              RONALD B. LEIGHTON
                                                UNITED STATES DISTRICT JUDGE
16   Presented by:
17
      /s/ William H. Redkey, Jr.
18   WILLIAM H. REDKEY, JR.
     Assistant United States Attorney
19   WA Bar # 7734
     United States Attorney’s Office
20
     700 Stewart Street, Suite 5220
21   Seattle, WA 98101
     Telephone: (206) 553-1206
22   Fax: (206) 553-4986
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     COMPULSION ORDER/COMER— 2                                                    UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
